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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                       :
                                                :
                                                :
       v.                                       :     Crim. No. RDB 15-457
                                                :
                                                :
 PAUL JONES                                     :
                                                :

              JOINT MOTION TO VACATE CONVICTION AND SENTENCE

       Defendant Paul Jones and the United States of America, by counsel, hereby jointly request,

pursuant to 28 U.S.C. § 2255, that the Court vacate the conviction and sentence imposed upon the

Defendant in criminal case number RDB 15-457. In support of this Motion, the parties state as

follows:

       1.       On May 28, 2015, officers of the Baltimore Police Department executed a state

search and seizure warrant at the Defendant’s home in Baltimore City. Upon searching the

Defendant’s home, the officers recovered narcotics and firearms which the defendant subsequently

admitted to possessing. On August 20, 2015, the Defendant was charged by indictment with

possession of a firearm by prohibited person, in violation of 18 U.S.C. § 922(g) (Count One) and

possession with the intent to distribute a controlled substance, in violation of 21 U.S.C. § 841

(Count Two). The Defendant pleaded guilty to Count Two and was subsequently sentenced to 72

months imprisonment. The Defendant has not previously appealed his conviction nor challenged

that conviction pursuant to 28 U.S.C. § 2255.

       2.       The Government has recently learned that false information may have been

knowingly included in the state search warrant affidavit. This information was material to the

probable cause that supported the issuance of the warrant. Neither the Defendant, nor the

Government, were aware of this fact at the time of the Defendant’s guilty plea. As a result, the
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Defendant believes this information may give him the basis to challenge the validity of his

conviction. United States v. Fisher, 711 F.3d 460 (4th Cir. 2013). Without conceding the legal

issue, the Government believes that on the particular facts of this case it is appropriate to have the

Defendant’s conviction and sentence vacated.

       3.       Section 2255(b) of Title 28 provides that, if a district court determines that a

Defendant is entitled to relief under the statute, it may vacate and set aside the conviction,

discharge the prisoner, grant a new trial, or may “correct the sentence as may appear appropriate.”

That provision confers a “broad and flexible” power to district courts to fashion an “appropriate

remedy” in 2255 cases. See United States v. Hillary, 106 F.3d 1170, 1171-72 (4th Cir. 1997)

(quoting United States v. Garcia, 956 F.2d 41, 45 (4th Cir. 1992)).

       4.       For the reasons stated above the parties are in agreement that the circumstances of

this case warrant relief under section 2255 and have prepared this joint motion to request that the

Court vacate the Defendant’s conviction and sentence. The parties agree that this joint resolution

will resolve any claims relating to the vacatur of the Defendant’s conviction and sentence.

                                          CONCLUSION

       Therefore, for the foregoing reasons, the United States and the Defendant respectfully

request that the Court grant the relief with respect to this motion, as set forth above.


 Stephen M. Schenning                                 Counsel the Defendant, Paul Jones
 Acting United States Attorney


 By: _________/s/_____________                        ____________/s/______________
 Clinton J. Fuchs                                     Lisa Lunt, Esq.
 Assistant United States Attorney                     Assistant Federal Public Defender
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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                      :
                                               :
                                               :
       v.                                      :     Crim. No. RDB 15-457
                                               :
                                               :
 PAUL JONES                                    :
                                               :

                                           ORDER

       Upon consideration of the Joint Motion to Vacate Conviction and Sentence filed by the

parties in the above-captioned matter, in which the parties request that the Court vacate the

conviction and sentence imposed upon Paul Jones (hereinafter the “Defendant”), the Court hereby

ORDERS as follows:

       1.       The conviction of Paul Jones in criminal case number RDB 15-457 is hereby

VACATED;

       2.       The sentence imposed upon Paul Jones in criminal case number RDB 15-457 is

hereby VACATED.



______________                                            ____________________________
Date                                                      Hon. Richard D. Bennett
                                                          United States District Judge




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